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                                                     USDC SDNY
UNITED STATES DISTRICT COURT                         DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                        ELECTRONICALLY FILED
                                                     DOC #: _________________
SECURITIES AND EXCHANGE                                           November 9, 2018
                                                     DATE FILED: ______________
COMMISSION,

                          Plaintiff,
                                                      18 Civ. 7128 (KPF)
                -v.-
                                                            ORDER
CHRISTOPHER COLLINS, CAMERON
COLLINS, and STEPHEN ZARSKY,

                          Defendants.

KATHERINE POLK FAILLA, District Judge:

      WHEREAS, on November 5, 2018, the Government submitted a

motion seeking to intervene in this action and seeking a partial stay of

discovery, in light of the pendency of the parallel criminal action United

States v. Christopher Collins et al., 18 Cr. 567 (VSB) (the “Criminal Action”),

in which an indictment has been returned; and

      WHEREAS, defendants Christopher Collins, Cameron Collins, and

Stephen Zarsky consent to the partial stay sought by the Government; and

      WHEREAS, the Securities and Exchange Commission (the “SEC”) takes

no position on the request for a partial stay; and

      WHEREAS, the Court finds that a partial stay of discovery and other

proceedings in this action is in furtherance of the interests of justice and will

not prejudice any party; it is hereby

      ORDERED that the Government’s motion to intervene is GRANTED;

      IT IS FURTHER ORDERED that:
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1.   Proceedings in this action are stayed in their entirety, except that

     during the pendency of the Criminal Action, the SEC shall produce to

     the defendants the following categories of documents obtained by the

     SEC prior to the institution of this action, in connection with the

     investigation leading to the SEC’s filing of this action, subject to the

     limitations set forth in Paragraph 2 and to any applicable privileges

     (the “Permitted Discovery”):

        (a)   each subpoena issued;

        (b)   every other written request to persons not employed by the

              SEC to provide documents or to be interviewed;

        (c)   the documents turned over in response to any such

              subpoenas or other written requests;

        (d)   all transcripts and transcript exhibits of any sworn

              investigative testimony;

        (e)   all notes and memoranda of witness interviews, and written

              statements made or adopted in the course of an interview,

              conducted by the SEC outside the presence of the

              Government and the Federal Bureau of Investigation in

              connection with the SEC’s investigation;

        (f)   any other documents obtained from persons not employed by

              the SEC, except as set forth below; and

        (g)   a log of all documents received by the SEC in response to

              subpoenas or other document requests, except for documents


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              produced to the SEC by the Government and/or the Federal

              Bureau of Investigation.

2.   Permitted Discovery expressly does not include the following categories

     of documents and no such documents shall be produced while this

     Order remains in effect: remains in effect

        (a)   Communications, written or oral, with the Government and/or

              the Federal Bureau of Investigation;

        (b)   Documents obtained by the SEC from the Government and/or

              the Federal Bureau of Investigation;

        (c)   Transcripts of testimony and notes of or memoranda describing

              interviews with; written statements made or adopted in the

              course of an interview by; or correspondence concerning

              interviews of any person whom the Government designates to

              the SEC as an individual who may be called as a witness in the

              Criminal Action;

        (d)   Disclosures pursuant to Federal Rule of Civil Procedure
              26(a)(1)(A)(i).


3.   All discovery beyond the Permitted Discovery is hereby stayed, including,

     for avoidance of doubt, all depositions, interrogatories, third-party

     discovery, and other forms of party discovery.




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    SO ORDERED.

Dated: November 9, 2018
       New York, New York

                                     KATHERINE POLK FAILLA
                                     United States District Judge




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